
420 S.E.2d 713 (1992)
George Dennis PENN, III
v.
COMMONWEALTH of Virginia.
Record No. 920043.
Supreme Court of Virginia.
September 18, 1992.
William R. Light, Lynchburg, for appellant.
Eugene Murphy, Asst. Atty. Gen. (Mary Sue Terry, Atty. Gen., on brief), for appellee.
Present: CARRICO, C.J., COMPTON, STEPHENSON, WHITING, LACY, and HASSELL, JJ., and POFF, Senior Justice.
PER CURIAM.
We granted the petition for appeal in this case to consider whether the Court of Appeals erred in ruling that the trial court did not err in refusing to suppress evidence seized during a search made pursuant to an unlawful misdemeanor arrest.
We have considered the question, and, for the reasons stated in the opinion of the Court of Appeals reported in 13 Va.App. 399,412 S.E.2d 189 (1991), we will affirm its judgment.
Affirmed.
